

People v Deontae S. (2023 NY Slip Op 04729)





People v Deontae S.


2023 NY Slip Op 04729


Decided on September 26, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 26, 2023

Before: Manzanet-Daniels, J.P., Mendez, Shulman, Rosado, O'Neill Levy, JJ. 


Ind. No. 5/16, 2037/16, SCI No. 0975/17 Appeal No. 620-620A Case No. 2017-03320 

[*1]The People of the State of New York, Respondent,
vDeontae S., Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Ji Hyun Rhim of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Emily Aldrige of counsel), for respondent.



Judgments, Supreme Court, Bronx County (Miriam Best, J.), rendered June 9, 2017, convicting defendant, upon his pleas of guilty, of robbery in the third degree and attempted robbery in the first and second degrees, adjudicating him a youthful offender as to attempted robbery in the first and second degrees, and sentencing him to aggregate prison term of 1 &amp;frac13; to 4 years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharges and fees imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and fees imposed at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose defendant's application.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 26, 2023








